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UNITED sTATEs DISTRICT COURT 'F"`~E° BY - D-C»
FOR THE
WESTERN DISTRICT 0F TENNESSEE 95 JUL '8 PH h= 03
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UNITED sTATES 0F AMERICA ) W)D O'c H:""' M”M
)
vs. )
) CR. No. 05-20251-Ma
GEoRGE ARDS, )

APPL|CAT|ON ORDER and WR|T FOR HABEAS CORPUS AD PROSEQUENDUM

 

Camille R. McMul|en, Assistant United States Attorney applies to the Court for a Writ to
have George Ards, R&l # 302602, DOB 2I7I1966, SSN 428-2913204 now being detained at the
She|by County Correctional Center, Memphis, Tennessee, to appear before the Honorable
U.S. Magistrate Judge Thomas S. Anderson, on Ju|y 14, 2005, at 2:00 p.m., an initial
appearance and for such other appearances as this Court may direct.

Respectfu||y submitted this Sth day of Ju|yl 2005.

    

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Upon consideration of the foregoing Application,
DAV|D G. JOLLEY, U.S. MARSHAL, WESTERN DlSTRlcT oF TENNESSEE, MEMPH|S, TN AND
GEORGE LlTTLE, WARDEN.

YOU ARE HEREBY COMMANDED to have GEORGE ARDS, appear before the HONORABLE U.S.

MAG|STRATE JUDGE 1"‘HOMAS S. ANDERSON on the date and time aforementioned

ENTERED this day Of H , 2005.

U.S. MAGISTRATE JUDGE

 

This document entered on the dockets eeti comp||ance
with Hure 55 and/or 32(:>) mch on § '/éf§

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CR-20251 Was distributed by faX, mail, or direct printing on
July ]1, 2005 to the parties listed.

 

 

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

